                   Case 5:22-cv-00002-D Document 3 Filed 01/03/22 Page 1 of 3


AO 440(Rev. 06/12) Summons-in a Civil Action


                                       United States District Court
                                                                 for the

                                                     Western District of Oklahoma


     BRITTNEY BUCKNER and VANCE DOTSON




                           Plaintiff(s)
                                  V.                                       Civil Action No.      CIV-22-2-D
   ENHANCED RECOVERY COMPANY, LLC, and
     ACCOUNT resolution SERVICES, d/b/a
   HEALTHCARE REVENUE RECOVERY GROUP,
           LLC., and CAC FINANCIAL CORP.,
                          Defendant(s)


                                                   SUMMONS IN A CIVIL ACTION

                             'k
To:(Defendant's name anditddress) CAC FINANCIAL CORP
                                  2601 NW Expressway #1000 East
                                  Oklahoma City, OK 73112




          A lawsuit has been filed against you.

          Within 21 days.after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12(a)(2) or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and addresl are:              Vance Dotson
                                          425 W. Wilshire Blvd Suite E
                                          Oklahoma City, OK 73116




           If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your-answer or motion with the court.


                                                                               CLERK OF COURT
                                                                                              8:43 am, Jan 03, 2022


 Date:             01/03/20^2
                                                                                         Signature ofClerk or Deputy Clerk
                   Case 5:22-cv-00002-D Document 3 Filed 01/03/22 Page 2 of 3


AO 440(Rev. 06/12) Summons in a Civil Action

                                       United States District Court
                                                                    for the

                                                      Western District of Oklahoma


     BRITTNEY BUCKNER and VANCE DOTSON



                            Plaintiff(s)
                                  V.                                          Civil Action No.

    ENHANCED RECOVERY COMPANY, LLC, and
     ACCOUNT resolution SERVICES, d/b/a
   HEALTHCARE REVENUE RECOVERY GROUP,
        LLC., and CAC FINANCIAL CORP.,
                           Defendant(s)

                                                   SUMMONS IN A CIVIL ACTION

 To;(Defendant's name and'Address) Account Resolution Services d/b/a Healthcare Revenue Recovery Group. LLC.,
                                           Registered Agent
                                           10300 Greenbriar Place
                              ?            Oklahoma City, OK 73159


                              I

           A lawsuit has been filed against you.

           Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R- Civ.
 P. 12(a)(2)or(3)— you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attomey,
  whose name and address are:              Vance Dotson
                             "             425 W. Wilshire Blvd Suite E
                                           Oklahoma City, OK 73116




            If you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
  You also must file yourianswer or motion with the court.


                                                                                            8:43 am, Jan 03, 2022
                                                                                  CLERK OF COURT



  Date:             01/03/2022
                                                                                             Signature ofClerk or Deputy Clerk
                   Case 5:22-cv-00002-D Document 3 Filed 01/03/22 Page 3 of 3


AO 440(Rev.06/12) Summons in a Civil Action


                                    United States District Court
                                                                   for the

                                                     Western District of Oklahoma



     BRITTNEY BUCKN^R and VANCE DOTSON



                           P1aintiff(s)
                               V.                                            Civil Action No.

   ENHANCED RECOVERY COMPANY, LLC, and
      ACCOUNT RESOLUTION SERVICES, d/b/a
   HEALTHCARE REVENUE RECOVERY GROUP,
           LLC., and CAC FINANCIAL CORP.,
                          Dcfendanl(s)


                                                   SUMMONS IN A CIVIL ACTION


To:(Defendant's name and'address) Enhanced Recovery Company, LLC.,
                                  8014 Bayberry Road
                                          Jacksonville, FL 32256




          A lawsuit has been filed against you.

         Within 21 dayshfter service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12(a)(2) or(3)— yo^ must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Ciyil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and address are:              Vance Dotson
                                          425 W. Wilshire Blvd Suite E
                                          Oklahoma City, OK 73116




          If you fail to resoond,judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file younanswer or motion with the court.


                                                                                 CLERK OF COURT
                                                                                           8:44 am, Jan 03, 2022

 Date:            01/03/2022
                                                                                           Signature ofClerk or Deputy Clerk
